

Matter of Perryman (2021 NY Slip Op 03652)





Matter of Perryman


2021 NY Slip Op 03652


Decided on June 10, 2021


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:June 10, 2021

PM-78-21
[*1]In the Matter of Katherine Paulette Perryman, an Attorney. (Attorney Registration No. 5076773.)

Calendar Date:June 7, 2021

Before:Lynch, J.P., Clark, Aarons, Pritzker and Colangelo, JJ.

Katherine Paulette Perryman, Wilton Manors, Florida, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Katherine Paulette Perryman was admitted to practice by this Court in 2012 and lists a business address in Wilton Manors, Florida with the Office of Court Administration. Perryman now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]).[FN1] The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Perryman's application.
Upon reading Perryman's affidavit sworn to April 14, 2021 and filed April 20, 2021, and upon reading the May 20, 2021 correspondence in response by the Chief Attorney for AGC, and having determined that Perryman is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Lynch, J.P., Clark, Aarons, Pritzker and Colangelo, JJ., concur.
ORDERED that Katherine Paulette Perryman's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Katherine Paulette Perryman's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Katherine Paulette Perryman is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Perryman is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Katherine Paulette Perryman shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.



Footnotes

Footnote 1: Perryman's previous application for leave to resign was denied by order of this Court (192 AD3d 1455 [2021]).






